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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNIVERSITAS EDUCATION, LLC                            :      CIVIL ACTION NO.
                                                      :
                        Plaintiff                     :      3:20-cv-00738-JAM
                                                      :
v.                                                    :
                                                      :
BENISTAR, et al.                                      :
                                                      :
                        Defendants                    :      AUGUST 17, 2021


                      MOTION FOR EXTENSION OF TIME TO
                PRODUCE EMAILS IN RESPONSE TO DISCOVERY ORDER

          Pursuant to Fed. R. Civ. P. 7 and L. Civ. R. 7(b), the Defendant Grist Mill Partners, LLC

(the “Defendant”), hereby moves for an extension of time, up to and including August 23, 2021,

to provide emails responsive to the first set of interrogatories and requests for production

propounded by Plaintiff, Universitas Education, LLC (the “Plaintiff”) and in accordance with the

Court’s Discovery Order (ECF No. 163). In support thereof, states as follows:

          1.     On or about February 18, 2021, Plaintiff served Plaintiff Universitas Education,

LLC’s First Set of Interrogatories and Requests for Production to Grist Mill Partners, LLC dated

February 18, 2021 (“Plaintiff’s First Set”).

          2.     Following a Discovery Dispute, the Court (Spector, USMJ) issued its Discovery

Order stating, in part: “Emails concerning GM Partners and/or property located at 100 Grist Mill

Road if and only if the Plaintiff provides GMP with identities of records custodians and search

terms.” On July 29, 2021, Plaintiff provided the search terms and records custodians for purposes

of the email production; See 7/28/2021 Chernow Email, Exhibit A.




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          3.    On August 16, 2021, GMP complied with the Discovery Order but requested

additional time to cull attorney client materials from the email production. GMP also interposed

objections to the search terms and record custodians. See GMP Email Objection, Exhibit B.

          4.    Because of the incredibly broad nature of the search terms, thousands of search

results were returned, many of which included privileged materials.

          5.    Additional time is needed to ensure that no privileged materials are provided.

Further, GMP believes that if any privileged material were provided the Plaintiff would use any

errors to claim a waiver of privilege generally.

          6.    The undersigned has inquired of Plaintiff’s counsel, Ben Chernow, Esq. concerning

the request set forth herein, but no response has been received as of the time of the filing of this

Motion.

          WHEREFORE, Defendant respectfully requests that this Court grant the within Motion

and extend the time for Defendant to respond to produce emails for 1 week until August 23, 2021.

                                              THE DEFENDANT
                                              GRIST MILL PARTNERS, LLC


                                              By:    /s/ Jeffrey M. Sklarz
                                                     Lawrence S. Grossman (ct15790)
                                                     Jeffrey M. Sklarz (ct20938)
                                                     Green & Sklarz LLC
                                                     One Audubon Street, Third Floor
                                                     New Haven, CT 06511
                                                     (203) 285-8545
                                                     Fax: (203) 823-4546
                                                     lgrossman@gs-lawfirm.com
                                                     jsklarz@gs-lawfirm.com




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below a copy of the foregoing was served by
electronic mail on the parties set forth below.

Dan E. LaBelle
labelle@halloran-sage.com

Michael R. McPherson
mcpherson@halloransage.com

Ilan Markus
imarkus@barclaydamon.com

Michael G. Caldwell
mcaldwell@barclaydamon.com

Joseph L Manson, III
jlm0505@hotmail.com

Date: August 17, 2021                                 /s/ Jeffrey M. Sklarz




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             EXHIBIT

                            A
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Jeffrey Sklarz

From:                              Ben Chernow <bchernow@jmansonlaw.com>
Sent:                              Thursday, July 29, 2021 7:37 PM
To:                                Jeffrey Sklarz
Cc:                                Lawrence Grossman; Joseph Manson
Subject:                           Universitas v. GMP - materials for email discovery




                                                 CAUTION - EXTERNAL EMAIL
 This email originated from outside of Green & Sklarz. DO NOT click links or open attachments unless you recognize the sender
                                                and know the content is safe.
Jeff and Lawrence,


Pursuant to the discovery order, please find our list of record custodians and search terms for email
production below. We apologize for the delay. We are amenable to a corresponding extension to the
production deadliine should such an extension prove necessary. The search terms are the same for all
custodians.


Search terms:


Grist Mill Partners


GMP


GM Partners


Ensign-Bickford


Ensign


100 Grist Mill


Mill Pond


Curaleaf


Lease


Building


"hidden" or "hide" or "conceal" or "protect" or "secure" or "safe"


Rent



                                                              i
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Mortgage


Property


Tenant


Landlord


Universitas


"creditor" or "creditor"


"judgment debtor" or "judgment debter" or "debtor" or "debter"


Lawsuit


Suit


Litigation


CFG


Carpenter Financial


Caroline


"charging order" or "order"


"restrain" or "notice" or "restraining notice"


Judgment


Moonstone


Seir Hill


Account


Bank


Transfer


Swain
                                                 2
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Alter ego


"shell" or "sham"


"own" or "hold" or "held" or "title" and "new" or "different" or "other"




Records Custodians:




Daniel Carpenter




Molly Carpenter




Kathy Kehoe




Amanda Rossi




Joseph Castagno




Benistar Admin Services, Inc. ("BASI") - we request that BASI search its server for emails that otherwise have
no current custodian. These emails are emails sent and/or received by Wayne Bursey, Jack Robinson, and/or
Matthew Westcott.




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             EXHIBIT

                            B
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                                    Objections to Search Terms


General Objection:
     1.   The search terms provided, when individually run, do not reasonably narrow the
          document search. Therefore, the requested production is over broad, unduly
          burdensome and disproportionate to appropriate discovery in this matter.
     2.   The search terms requested to be searched result in the return of documents and
          communications that are subject to attorney client and/or work product privilege.


Response:


Notwithstanding the objections set forth above and below, responsive documents will be
provided.


Search terms:


Grist Mill Partners


GMP


GM Partners


Ensign-Bickford


Ensign


100 Grist Mill


Mill Pond


Curaleaf


Lease


Building


"hidden" or "hide" or "conceal" or "protect" or "secure" or "safe"


Rent


Mortgage



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Property


Tenant


Landlord


Universitas


"creditor" or "crediter"


"judgment debtor" or "judgment debter" or "debtor" or "debter"


Lawsuit


Suit


Litigation


CFG


Carpenter Financial


Caroline


"charging order" or "order"


"restrain" or "notice" or "restraining notice"


Judgment


Moonstone


Seir Hill


Account


Bank




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Transfer


Swain


Alter ego


"shell" or "sham"


"own" or "hold" or "held" or "title" and "new" or "different" or "other"




Records Custodians:




Daniel Carpenter




Molly Carpenter




Kathy Kehoe
Objection: A no time was Kathy Kehoe a record custodian of GMP.




Amanda Rossi




Joseph Castagno




Benistar Admin Services, Inc. ("BASI") - we request that BASI search its server for emails that
otherwise have no current custodian. These emails are emails sent and/or received by Wayne
Bursey, Jack Robinson, and/or Matthew Westcott.


Objection: A no time was BASI a record custodian of GMP. This request should be directed to
BASI, not GMP.




{0023 1 153.1 }
